Case 2:17-cr-20274-BAF-DRG ECF No. 375 filed 12/07/18   PageID.3175   Page 1 of 7




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                 No. 17-cr-20274

             Plaintiff,                    Honorable Bernard A. Friedman

 v.                                        MOTION TO AMEND
                                           BOND CONDITIONS
 JUMANA NAGARWALA, D-1,


           Defendant.
 ________________________________________/


       Defendant Jumana Nagarwala, M.D., through her attorneys,

 Shannon Smith and Molly Blythe, respectfully moves this Court to

 amend her bond conditions. Counsel sought concurrence for the relief

 requested herein, but the request was denied by the government.

                                    Respectfully submitted,

 Dated: December 7, 2018            /s/ Shannon M. Smith
                                    SHANNON M. SMITH
                                    Attorney for Jumana Nagarwala

 Dated: December 7, 2018            /s/ Molly S. Blythe
                                    MOLLY S. BLYTHE
                                    Attorney for Jumana Nagarwala




 	                                    1	
Case 2:17-cr-20274-BAF-DRG ECF No. 375 filed 12/07/18   PageID.3176   Page 2 of 7




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                 No. 17-cr-20274

             Plaintiff,                    Honorable Bernard A. Friedman

 v.                                        BRIEF IN SUPPORT OF
                                           MOTION TO AMEND BOND
                                           CONDITIONS
 JUMANA NAGARWALA, D-1,


           Defendant.
 ________________________________________/

       The instant case has been pending against Dr. Jumana

 Nagarwala since she was arrested on April 12, 2017. After three

 superseding indictments and dismissals of various counts by this Court,

 the charges against Dr. Nagarwala have changed numerous times.

       When this case began, Dr. Nagarwala was subject to pretrial

 detention. After spending approximately seven months in jail, however,

 this Court granted Dr. Nagawala’s Motion for Pretrial Release and

 entered an Order Setting Conditions of Release on November 21, 2017.

 (Doc. 233.) One such condition was that Dr. Nagarwala be placed in the




 	                                    2	
Case 2:17-cr-20274-BAF-DRG ECF No. 375 filed 12/07/18    PageID.3177   Page 3 of 7




 custody   of   a   third   party     custodian,   her   father   Fakhruddin

 Kurawadwala. (Doc 233, Page ID # 1709.)

       Initially, Pretrial Services interpreted the Order to mean that Dr.

 Nagarwala had to be supervised and in the physical presence of her

 custodian 24 hours a day. At the time, a pending child protective

 proceeding in State Court prevented Dr. Nagarwala from residing in

 her residence. Consequently, the condition of release that required Dr.

 Nagarwala to participate in home incarceration occurred in in the

 context of a hotel, and her third party custodian was required to be

 present at the hotel at all times.

       On November 27, 2017, Dr. Nagarwala asked this Court to clarify

 its Order Setting Conditions of Release with regard to what was

 required of her third party custodian. (Doc. 232). On February 1, 2018,

 this Court ordered that Dr. Nagarwala was to be supervised by her

 custodian from 9:00 a.m. until 10:00 p.m. (Doc. 277.) The Court also

 ordered that additional third party custodians could be appointed to

 supervise Dr. Nagarwala. (Doc. 277.) Dr. Nagarwala’s mother, Raika

 Kurawadwala, was subsequently approved to be an additional third

 party custodian.



 	                                      3	
Case 2:17-cr-20274-BAF-DRG ECF No. 375 filed 12/07/18   PageID.3178   Page 4 of 7




       In April of 2018, the juvenile court permitted Dr. Nagarwala to

 move back into her residence. Due to the fact Mr. and Mrs.

 Kurawadwala’s primary residence is located in Maryland, they also

 reside in the Nagarwala residence when supervising their daughter.

       On September 12, 2018, a Third Superseding Indictment was

 issued. (Doc. 334.) After a Motion by the defense challenging Congress’

 authority to enact 18 U.S.C. § 116(a), the Court issued an Opinion and

 Order Dismissing Counts 1 through 6 of the Third Superseding

 Indictment on November 20, 2018. (Doc. 370.). Previously, in January of

 2018, the Court also dismissed a life offense, namely Count 6 of the

 Second Superseding Indictment for “Conspiracy to Transport Minor

 with Intent to Engage in Criminal Sexual Activity.” (Doc. 268.)

       At this time, Dr. Nagarwala remains charged with two counts: one

 count of Conspiracy to Travel with Intent to Engage in Illicit Sexual

 Conduct (Doc. 334, Page ID # 2471.) and one count of Conspiracy to

 Obstruct an Official Proceeding (Doc. 334, Page ID # 2472.). Dr.

 Nagarwala, through her attorneys, has filed a Motion to Dismiss the

 new travel charge from the Third Superseding Indictment, however,

 this is yet to be scheduled for hearing before the Court. (Doc. 373.)



 	                                    4	
Case 2:17-cr-20274-BAF-DRG ECF No. 375 filed 12/07/18   PageID.3179   Page 5 of 7




       Due to the fact that Dr. Nagarwala is now residing in the same

 residence as her third party custodian and in light of the Court’s recent

 decision dismissing all but two counts against Dr. Nagarwala, Dr.

 Nagarwala respectfully requests that her bond conditions be reviewed

 and revised. Specifically, Dr. Nagarwala respectfully requests that the

 Court remove the requirement that she remain in third party custody.

       In the alternative, Dr. Nagarwala respectfully requests that the

 Court reduce the number of daytime hours she is to be supervised and

 instead require a third party custodian to be present in the home during

 all nighttime hours. This would allow the custodians the flexibility to do

 simple tasks, such as going to the grocery store, picking the children up

 from school, getting haircuts, and attending mosque services, while also

 allowing    them   to   provide   adequate   supervision,    including    the

 requirement that each night a third party custodian must be present in

 the home.

       As this Court is undoubtedly aware, an order of pretrial release

 must be subject to the least restrictive condition or combination of

 conditions that will reasonably assure the appearance of the person as

 required and the safety of any other person in the community. 18 U.S.C.



 	                                    5	
Case 2:17-cr-20274-BAF-DRG ECF No. 375 filed 12/07/18   PageID.3180   Page 6 of 7




 § 3142(c). Dr. Nagarwala is certainly not a flight risk as she does not

 have her passport and is currently on house arrest with a tether.

 Further, Dr. Nagarwala does not pose a risk to the safety of persons in

 the community. She has no criminal history whatsoever and has been

 consistently compliant with the bond conditions imposed by this court.

       There has not been one allegation of a bond violation brought

 against any of the defendants, including Dr. Nagarwala, in this case in

 the one year and over seven months that this case has been pending.

 Accordingly, Dr. Nagarwala respectfully requests that this Court review

 and revise her bond conditions.

                                    Respectfully submitted,

 Dated: December 7, 2018            /s/ Shannon M. Smith
                                    SHANNON M. SMITH
                                    Attorney for Jumana Nagarwala

 Dated: December 7, 2018            /s/ Molly S. Blythe
                                    MOLLY S. BLYTHE
                                    Attorney for Jumana Nagarwala


                     CERTIFICATE OF SERVICE

       I hereby certify that on the 7th of December 2018, I electronically

 filed the foregoing document with the Clerk of the Court using the

 ECF system which will send notification to parties enrolled through the


 	                                    6	
Case 2:17-cr-20274-BAF-DRG ECF No. 375 filed 12/07/18   PageID.3181   Page 7 of 7




 ECF system. A hard copy has been mailed via the United States Postal

 Service to those who are not enrolled.

                              /s/ Shannon M. Smith
                              SHANNON M. SMITH
                              Attorney for Defendant Jumana Nagarwala
                              Smith Blythe, PC
                              1668 South Telegraph Road
                              Suite 140
                              Bloomfield Hills, Michigan 48302
                              (248) 636-2595
                              attorneyshannon@gmail.com




 	                                    7	
